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                  EXHIBIT 3
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  ’574 patent      ’446 patent           Description

  3:25-6:10        3:20-6:6              Identical disclosures of numerous, various generic
                                         computer components that may be used.

  9:57-11:17       6:25-7:35             Identical disclosures of predictive analysis. Note that
                                         the “results module” of the ’574 patent is
                                         interchangeable with the “predictive analytics
                                         module” of the ’446 patent.

  20:24-21:16      7:56-8:46             Identical disclosures for data receiver module.

  21:17-23:27      8:47-10:54            Identical disclosures for function generator module.

  23:28-25:67      10:55-11:27,          Identical disclosures for feature selector module in
                   11:45-13:34           combination with machine learning compiler module
                                         (’574 patent)/predictive compiler module (’446
                                         patent).

  26:1-59          13:35-14:25           Identical   disclosures   for   predictive    correlation
                                         module.

  26:60-27:34      14:26-67              Identical disclosures for combiner module.

  27:35-28:12      15:1-45               Identical disclosures for extender module.

  28:13-44         15:46-16:9            Identical disclosures for synthesizer module.

  28:45-29:29      16:10-59              Identical disclosures for function evaluator module.

  29:30-30:5       16:60-17:35           Identical disclosures for evaluate metadata and
                                         metadata library.

  30:6-19          17:36-48              Identical disclosures for function selector module.

  30:20-31:16,     17:49-18:43,          Identical disclosures for machine learning ensemble
  33:21-61, 34:63- 20:44-21:16,          (’574 patent)/predictive ensemble (’446 patent),
  35:27            22:16-46              learned functions therefor, and directing data through
                                         the ensemble.

  31:17-24, 33:62- 18:44-52,     21:17- Identical disclosures for machine learning factory
  34:62            22:15                (’574 patent)/predictive analytics factory (’446 patent)
                                        and methods of implementation therefor.

  31:25-32:2       18:53-19:27           Identical disclosures for interface module.
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  ’574 patent     ’446 patent       Description

  32:3-26         19:28-50          Identical disclosures for data repository.

  32:27-41        19:51-65          Identical disclosures for data receiver module.

  32:42-33:20     19:66-20:43       Identical disclosures for system of various modules in
                                    combination with each other.

  Fig. 1A         Fig. 1            Identical disclosures of data networks connected to
                                    generic computer components and clients. The ’574
                                    patent merely adds a display.

  Figs. 2A, 3-8   Figs. 2-8         Identical block diagrams with minor changes to
                                    names, numerals.
